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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                              CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                 PLAINTIFF WAYMO’S FEBRUARY 7,
                                           2018 LIST OF NEXT SEVEN WITNESSES
          vs.

    UBER TECHNOLOGIES, INC.;
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,
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              Defendants.
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                                                              CASE NO. 3:17-cv-00939-WHA
                                                        WAYMO’S LIST OF NEXT SEVEN WITNESSES
 1          Pursuant to this Court’s December 4, 2017 Order (Dkt. 2340) and the parties' stipulation

 2 (1/30/17 Hearing Tr., 106:8-19), Plaintiff Waymo LLC (“Waymo”) hereby submits the following

 3 rolling list of its next trial witnesses:

 4                  1.      Melanie Maugeri

 5                  2.      Bill Gurley

 6                  3.      Eric Tate

 7                  4.      Andy Crain

 8                  5.      Michael Janosko

 9                  6.      Sasha Zbrozek

10                  7.      Pierre Yves-Droz

11                  8.      Gaetan Pennecot

12                  9.      Dan Gruver

13                  10.     James Haslim

14                  11.     Lambertus Hesselink

15                  12.     Jeff Holden

16                  13.     Dan Chu

17                  14.     Shawn Banazadeh

18                  15.     Jennifer Haroon
19                  16.     Anthony Levandowski

20          Pursuant to this Court's January 18, 2018 Order (Dkt. 2492), Waymo states that it intends

21 to request closure of the courtroom for the final portion of John Bares’ testimony, which has not

22 yet been played, because he will be discussing the substance of Waymo’s asserted trade

23 secrets. Waymo also states that it intends to request closure of the courtroom for portions of the

24 testimony of Pierre Yves-Droz, Gaetan Pennecot, Dan Gruver, James Haslim, and Lambertus

25 Hesselink because they will be discussing the substance of Waymo's asserted trade secrets.

26 Waymo further states that it intends to request closure of the courtroom for portions of the
27 testimony of Dan Chu and Jennifer Haroon because they will be discussing detailed information

28 about Waymo's plans to launch and scale its business and future revenue and profit forecasts.

                                                    -2-                     CASE NO. 3:17-cv-00939-WHA
                                                                   WAYMO’S LIST OF NEXT SEVEN WITNESSES
 1   Dated: February 7, 2018   QUINN EMANUEL URQUHART & SULLIVAN, LLP

 2                              By /s/ Charles K. Verhoeven
 3                                 Charles K. Verhoeven
                                   Attorneys for WAYMO LLC
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                                  -3-                  CASE NO. 3:17-cv-00939-WHA
                                              WAYMO’S LIST OF NEXT SEVEN WITNESSES
 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file

 3 this Plaintiff Waymo's February 7, 2018 List of Next Seven Witnesses.

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 5 Dated: February 7, 2018                                  /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
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                                                                  WAYMO’S LIST OF NEXT SEVEN WITNESSES
